AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                   Middle District of Tennessee

                       JAMES RIEVES

                             Plaintiff

                                                                       Civil Action No.
                                V.
              TOWN OF SMYRNA, TN ET AL
                                                               )
                                                                j
                                                                                                   3-18 - 0 9 6 5
                            Defendant                          )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) SMYRNA MAYOR'S OFFICE
                                   315 S. LOWRY ST.
                                   SMYRNA, TN 37167




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: BRAZIL CLARK, PLLC
                                 2706 LARMON AVENUE
                                 NASHVILLE, TN 37204




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                         CLERK OF CO URT

                SEP 2.7 2018
Date:                                                                              ,   U/0
                                                                                       Signature of Clerk or Deputy Clerk




               Case 3:18-cv-00965 Document 3 Filed 09/27/18 Page 1 of 6 PageID #: 20
AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the



                       JAMES RIEVES

                             Plaintiff
                                V.                               )       Civil Action No.         3®18 -0965
              TOWN OF SMYRNA, TN ET AL                           )

                            Defendant                            )


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's mmne and address) SMYRNA POLICE CHIEF KEVIN ARNOLD
                                         SMYRNA POLICE DEPARTMENT
                                         400 ENON SPRINGS ROAD E, SMYRNA, TN 37167




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are: BRAZIL CLARK, PLLC
                                         2706 LARMON AVENUE
                                         NASHVILLE, TN 37204




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT



Date:           SEP. 2 7 2018                                               r               )
                                                                                      Signature of Clerk or Deputy Clerk




              Case 3:18-cv-00965 Document 3 Filed 09/27/18 Page 2 of 6 PageID #: 21
AO 440 (Rev. 12109) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Middle District of Tennessee

                       JAMES RIEVES

                             Plaintiff

                                V.                                                     .
                                                                         Civil Action No
                                                                                                  3.18 - 0 9 6 5
             TOWN OF SMYRNA, TN ET AL

                            Defendant


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's mmne and address) RUTHERFORD COUNTY, TENNESSEE
                                   COUNTY COURTHOUSE, ONE PUBLIC SQUARE
                                   ROOM 101
                                         MURFREESBORO,TN



         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: BRAZIL CLARK, PLLC
                                         2706 LARMON AVENUE
                                         NASHVILLE, TN 37204




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT

             SEP 2 7 2018
Date:                                                                                      ~
                                                                                     Signature of Clerk or Deputy Clerk




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Middle District of Tennessee

                       JAMES RIEVES

                             Plaintiff

                                V.                                       Civil Action No.
                                                                                              3 — 1 Q- O p 65
             TOWN OF SMYRNA, TN ET AL

                            Defendant


                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) DISTRICT ATTORNEY JENNINGS JONES
                                         DISTRICT ATTORNEY GENERAL MURFREESBORO CRIMINAL OFFICE
                                         320 W. MAIN ST., ST. #100
                                         MURFREESBORO, TN 37130




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are: BRAZIL CLARK, PLLC
                                         2706 LARMON AVENUE
                                         NASHVILLE, TN 37204




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT

                SEP 2 7 2018
Date:
                                                                                      Signature of Clerk or Deputy Clerk




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AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Middle District of Tennessee

                        JAMES RIEVES                             )

                             Plaintiff
                                                                 )       Civil Action No.
                                V.
              TOWN OF SMYRNA, TN ET AL                           j
                                                                                              3- 1 8- 0 9 65
                            Defendant                            )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) ASSISTANT DISTRICT ATTORNEY JOHN ZIMMERMAN
                                         DISTRICT ATTORNEY GENERAL MURFREESBORO CRIMINAL OFFICE
                                         320 W. MAIN ST., ST. #100
                                         MURFREESBORO, TN 37130




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are: BRAZIL CLARK, PLLC
                                         2706 LARMON AVENUE
                                         NASHVILLE, TN 37204




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT

                SEP 2 7 2018
Date;                                                                         A20     Signature of Clerk or Deputy Clerk




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AO 440 (Rev. 12109) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                    Middle District of Tennessee

                       JAMES RIEVES

                             Plaintiff
                                V.
              TOWN OF SMYRNA, TN ET AL
                                                                        Civil Action No.
                                                                                           3-18 - 0 9 65
                            Defendant

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) RUTHERFORD COUNTY SHERIFF MIKE FITZHUGH
                                         940 NEW SALEM RD.
                                         MURFRESSBORO, TN 37129




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: BRAZIL CLARK, PLLC
                                         2706 LARMON AVENUE
                                         NASHVILLE, TN 37204




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


                    SEP 2 7 ?_2018                                        ,
Date:
                                                                                     Signature of Clerk or Deputy Clerk




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